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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


    THOSE CHARACTERS FROM CLEVELAND, LLC,

            Plaintiff,                                               Case No.: 1:24-cv-03066

    v.                                                               Judge Lindsay C. Jenkins

    THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Maria Valdez
    ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

            Defendants.


                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on June 3, 2024 [29] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                 DEFENDANT
               169                               Sucojrffs McFashion


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: August 2, 2024                               Respectfully submitted,



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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF(S)




                                                         2 of August, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this _

Given under by hand and notarial seal.




                                             STATE OF __      !_I_/
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                                             COUNTY OF --=-----------


                                                              GRISELDA DELGADO
                                                                OFFICIAL SEAL
                                                 • N.otary Public, State of Illinois
                                                             My Commission Expires
                                                                October 05, 2026
